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     UNITED STATES V. MATTHEW JASON BEDDINGFIELD

                    Case No.: 22-CR-66 (CJN)




                   Exhibit D – Character Letter


                       Christian Thornton
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Leza Driscoll

From:                       Christian Thornton <christian.thornton19@yahoo.com>
Sent:                       Wednesday, January 25, 2023 5:59 AM
To:                         Leza Driscoll
Subject:                    Letter to M Law



EXTERNAL SENDER
My name is Christian Thornton. Me and Matthew have been close friends since
early high school which makes it nearly a decade. I helped him get the job that we
currently work at since he was a great friend and worker. He also helped me get a
similar job with him a couple years ago. He is the most honest friend that I have and
I trust him like I would my own brother. Being African American and him being
different there has never been any issues with race. He has been around my family
and friends of different ethnicities for years and vice versa. If you have more
questions I have provided my number please give me a call anytime. Thanks.
9198796875




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